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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 USA                                                                2:21−cr−00051−RGK
                                                  Plaintiff(s),

          v.
 FELIX CISNEROS, JR
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).       ELECTRONICALLY FILED DOCUMENT




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your filed document:

 Date Filed:         9/23/2022
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 Title of Document:             Motion to Vacate Judgment
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                                                Clerk, U.S. District Court

                                                By: /s/ Krystal Pastrana Hernandez
 Dated: September 27, 2022                      krystal_pastranahernandez@cacd.uscourts.gov
                                                   Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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